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  1   Christopher Celentino (State Bar No. 131688)
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  2   DINSMORE & SHOHL LLP
      655 West Broadway, Suite 800                                   FILED & ENTERED
  3   San Diego, CA 92101
      Telephone: 619.400.0500
  4   Facsimile: 619.400.0501                                              JUL 05 2023
  5   Proposed Special Counsel to the Chapter 11 Trustee,             CLERK U.S. BANKRUPTCY COURT
      Richard A. Marshack                                             Central District of California
  6                                                                   BY bolte      DEPUTY CLERK



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  9                              UNITED STATES BANKRUPTCY COURT

 10                 CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION

 11

 12    In re:                                             Case No. 8:23-bk-10571-SC

 13    THE LITIGATION PRACTICE GROUP P.C., Chapter 11

 14              Debtor.                                  ORDER APPROVING APPLICATION
                                                          PURSUANT TO 11 U.S.C. SECTION
 15                                                       327(a) AUTHORIZING THE RETENTION
                                                          AND EMPLOYMENT OF DINSMORE &
 16                                                       SHOHL LLP AS SPECIAL COUNSEL
                                                          FOR CHAPTER 11 TRUSTEE RICHARD
 17                                                       A. MARSHACK

 18                                                       Date:    No Hearing Required
                                                          Time:
 19                                                       Ctrm:    5C
                                                                   411 West Fourth Street, Suite 5130
 20                                                                Santa Ana, California, 92701-4593
                                                          Judge:   Hon. _Scott C. Clarkson
 21

 22

 23             The Bankruptcy Court having reviewed the Application (the "Application") of chapter 11

 24   trustee, Richard A. Marshack (the "Trustee"), for the above-captioned debtor, The Litigation

 25   Practice Group P.C. (the "Debtor") for authority to retain and employ the law firm of Dinsmore &

 26   Shohl LLP ("Dinsmore") as special counsel for the Trustee, and the Bankruptcy Court finding that

 27   no objection to the Application was timely made, and good cause appearing therefor:

 28             IT IS ORDERED that the Application be, and hereby is, granted.

                                                      1
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  1          IT IS ORDERED that the Trustee is authorized to employ Dinsmore as his special counsel

  2   effective as of May 8, 2023 to perform the services set forth in the Application, with compensation

  3   to be paid by the within bankruptcy estate pursuant to and upon further Bankruptcy Court approval.

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 24 Date: July 5, 2023

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